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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN
ALINA BOYDEN and SHANNON ANDREWS,

                             Plaintiffs,                                   ORDER
       v.
                                                                        17-cv-264-wmc
ROBERT J. CONLIN, STATE OF WISCONSIN
DEPARTMENT OF EMPLOYEE TRUST
FUNDS, STATE OF WISCONSIN GROUP
INSURANCE BOARD, MICHAEL S. FARRELL,
STACEY ROLSON, CHARLES GRAPENTINE,
WAYLON HURBURT, THEODORE NIETZKE,
J.P. WIESKE, BOB ZIEGELBAUER, JENNIFER
STEGALL, FRANCIS SULLIVAN, HERSCHEL
DAY, and NANCY THOMPSON,

                             Defendants.

       The court previously granted defendants’ motion to amend the preliminary pretrial

conference order, specifically seeking an order reflecting that the case will be tried to a jury

as requested by the defendants in their answer. (Defs.’ Mot. (dkt. #146); 8/14/18 Order

(dkt. #147). As indicated in that text order, the court sets the following schedule:

   •   Rule 26(a)(3) disclosures and motions in limine:           Sept. 5, 2018

   •   Responses:                                                 Sept. 14, 2018

   •   Final Pretrial Conference:                                 Sept. 25, 2018 at 2:00 p.m.

   •   Jury Trial:                                                Oct. 9, 2018 at 9:00 a.m.

       The parties are directed to refer to the court’s Jury Trial Procedures for Pretrial

Submissions, available in the hyperlink at dkt. #45, for further instruction.

       Entered this 23rd day of August, 2018.

                                            BY THE COURT:

                                            /s/__________________________________
                                            WILLIAM M. CONLEY
                                            District Judge
